Argued November 21, 1934.
Judgment was entered in the court below against the defendant for want of a sufficient affidavit of defense in an action of assumpsit. The action was brought by certain members of St. Bernard's Roman Catholic Church, an unincorporated association, on its behalf, to recover the return or unearned premium due the church on the cancellation of a fire insurance policy covering the church property which had been issued by the defendant insurance company.
The action was not brought to recover a loss under the policy, but for the return or unearned premium payable on its cancellation. It was not necessary to append a copy of the policy to the plaintiff's statement.
The opinion of Judge PATTERSON of the court below clearly and concisely states the facts involved and the law applicable to the case.
The judgment is affirmed on that opinion. *Page 480 